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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  19 Civ. 9236 (KPF)
TETHER AND BITFINEX CRYPTO ASSET
LITIGATION
                                                      OPINION AND ORDER


KATHERINE POLK FAILLA, District Judge:

         On September 28, 2021, this Court issued an Opinion and Order

granting in part and denying in part Defendants’ motions to dismiss the

Amended Consolidated Class Action Complaint (the “CAC”) in this case. The

decision permitted Plaintiffs to proceed to discovery on claims that were

predicated on extensive allegations that Defendants engaged in a scheme to

manipulate the market price for certain cryptocommodities in connection with

Defendants’ fraudulent issuance of a crypto-asset called “USDT” or “tether.”

See In re Tether & Bitfinex Crypto Asset Litig., 576 F. Supp. 3d 55, 70 (S.D.N.Y.

2021). Since that time, the parties have engaged in lengthy and contentious

fact discovery, including the exchange of written interrogatories, the production

of documents, and the taking of depositions.

         The fact discovery period is now closed, and before the Court is Plaintiffs’

motion for leave to file a second amended complaint. Plaintiffs seek to conform

the allegations in the CAC to reflect certain facts revealed during discovery, and

to narrow the scope of this case before it proceeds through its remaining

stages. To that end, Plaintiffs represent that they have or will dismiss their

claims against Defendants Bittrex, Poloniex, and Crypto Capital Corp., as well

as the latter’s co-founder, Reginald Fowler. Remaining in this case are two sets
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of Defendants: (i) the B/T Defendants, 1 comprising various entities and

individuals associated with Bitfinex, the cryptocurrency exchange, and Tether,

the issuer of USDT; and (ii) Defendant Philip G. Potter, the co-founder of Tether

and its former Chief Strategy Officer, inter alia. In the Proposed Second

Amended Complaint (the “PSAC”), Plaintiffs assert claims against the B/T

Defendants and Potter arising under the Commodities Exchange Act (the

“CEA”), 7 U.S.C. §§ 1-27, and the Sherman Act, 15 U.S.C. §§ 1-38, reflecting

Plaintiffs’ theory of market manipulation, as refined by the fact discovery

record. Specifically, Plaintiffs now allege that Defendants moved vast

quantities of debased USDT onto the market via an anonymous, non-party

trader (the “Anonymous Trader”), and in doing so, artificially drove price

increases in certain cryptocommodities. For the reasons set forth in the

remainder of this Opinion, the Court grants Plaintiffs’ motion for leave to

amend, and will permit Plaintiffs to file a redacted version of the PSAC and

accompanying motion papers.

                                    BACKGROUND 2

A.    Factual Background

      The Court presumes familiarity with the facts set forth in its extensive

opinion resolving Defendants’ motion to dismiss the CAC. See In re Tether, 576



1     For clarity, those entities and individuals are: iFinex Inc., BFXNA Inc., BFXWW Inc.,
      Tether Holdings Limited, Tether Operations Limited, Tether Limited, Tether
      International Limited, DigFinex Inc., Giancarlo Devasini, and Ludovicus Jan van der
      Velde.
2     The facts stated herein are drawn from the facts alleged in the Amended Consolidated
      Class Action Complaint (Dkt. #114 (CAC)), and the parties’ submissions in connection
      with Plaintiffs’ motion for leave to file a second amended complaint. For ease of


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F. Supp. 3d at 70-84. Because the merits of Plaintiffs’ motion to amend turn in

large part on the degree of factual overlap across Plaintiffs’ pleadings, the Court

provides a brief restatement of those allegations in the CAC that provide

context for the new allegations raised in the PSAC.

      1.     The Relevant Parties

      Plaintiffs Matthew Script, Jason Leibowitz, Benjamin Leibowitz, Aaron

Leibowitz, and Pinchas Goldshtein are purchasers of various

cryptocommodities. See In re Tether, 576 F. Supp. 3d at 72-73. Plaintiffs

allege that, during the Class Period, they each purchased cryptocommodities at

prices that had been artificially inflated by Defendants’ market manipulation,

causing Plaintiffs to suffer economic losses and actual damages. Id. Only one

of the named Plaintiffs, Pinchas Goldshtein, is alleged to have purchased

cryptocommodities futures, having done so between January 16, 2018, and

June 3, 2020. Id.

      Defendants, as noted, are all related in some manner to Tether and/or

Bitfinex. Defendant Tether is the central authority over and issuer of USDT, a

type of crypto-asset known as a “stablecoin,” meaning it is purportedly pegged

to and backed by U.S. dollars that are held in reserve by Tether. See In re


      reference, the Court refers to Plaintiffs’ Memorandum of Law in Support of Their Motion
      for Leave to Amend as “Pl. MTA Br.” (Dkt. #480), and to the Proposed Second Amended
      Complaint annexed thereto as the “PSAC” (Dkt. #480-1); to Defendant Philip G. Potter’s
      Memorandum of Law in Opposition to Plaintiffs’ Motion for Leave to Amend as “Potter
      MTA Opp.” (Dkt. #503); to the B/T Defendants’ Memorandum of Law in Opposition to
      Plaintiffs’ Motion for Leave to Amend as “B/T MTA Opp.” (Dkt. #505); to Plaintiffs’ Reply
      Memorandum of Law in Support of Their Motion for Leave to Amend as “Pl. MTA Reply”
      (Dkt. #515); and finally to the Declaration of Laura M. King in Support of Plaintiffs’
      Reply Memorandum of Law as “King Decl.” and its exhibits as “King Decl., Ex [ ]” (Dkt.
      #516).



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Tether, 576 F. Supp. 3d at 70-71. Plaintiffs allege that Tether represented to

the market that every USDT in circulation was essentially the “digital

equivalent of [a] U.S. dollar[],” insofar as each USDT was backed by a U.S.

dollar in Tether’s bank account, and USDT holders could exchange their USDT

for those U.S. dollars anytime they wished. Id. at 71, 78. Any USDT that was

exchanged for U.S. dollars was deemed “burned,” and removed from the

market. Id. at 78. Implicit in these representations was the notion that Tether

would not issue USDT unless that USDT was sufficiently backed by U.S. dollar

collateral, which notion signaled to the market that any new issuance of USDT

by Tether constituted a quantifiable increase in U.S.-dollar demand for crypto-

assets. Id. Today, USDT is one of the most widely used crypto-assets in the

world by trading volume, and the third-largest crypto-asset in the world by

market capitalization, with a market capitalization of $9.1 billion. Id. at 71.

      Tether is merely the issuer of USDT; it does not operate a platform for

the actual exchange of USDT or other crypto-assets. That role is played by

Defendant Bitfinex, which operates an eponymous online platform for trading

crypto-assets. In re Tether, 576 F. Supp. 3d at 71. As alleged, Bitfinex is one

of the “largest and least[-]regulated” crypto-exchanges in the world, allowing

users to deposit and withdraw fiat currency, such as U.S. dollars or euros, in

addition to facilitating crypto-to-crypto transactions. Id.

      Finally, Individual Defendants Giancarlo Devasini and Ludovicus Jan

van der Velde (also B/T Defendants), as well as Philip G. Potter, are all current

or former senior management at and shareholders of one or more of the various



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entities comprising Tether and Bitfinex, as well as DigFinex, the ultimate

parent entity of Tether and Bitfinex. In re Tether, 576 F. Supp. 3d at 72.

      2.    The Alleged Price Manipulation Scheme of the CAC

      As detailed in the Court’s prior opinion, Plaintiffs’ theory of price

manipulation, as set forth in the CAC, proceeded as follows: In the first stage,

Defendants, who controlled Tether and Bitfinex, caused Tether to issue

significant quantities of USDT unbacked by any corresponding U.S. dollar

collateral, and to transfer that USDT to Bitfinex for trading on the open market.

In re Tether, 576 F. Supp. 3d at 77-78. Critically, Defendants did not inform

the market of the debased nature of this USDT, and instead undertook

significant public efforts to maintain the façade that each USDT was backed by

one U.S. dollar held in Tether’s reserves, that any new issuance of USDT was in

response to legitimate market demand, and that customers could exchange

USDT at parity with the U.S. dollar. Id. Defendants also concealed from the

market the interrelationship between Tether and Bitfinex, creating the illusion

that USDT was supported by two independent entities: Tether, responsible for

maintaining the cash reserve necessary to ensure the stability of USDT; and

Bitfinex, a third-party exchange interested only in facilitating trades in USDT

and other crypto-assets. Id.

      Once issued, Defendants transferred this secretly debased USDT from

Bitfinex to two specific accounts on the Poloniex and Bittrex exchanges. In re

Tether, 576 F. Supp. 3d at 78. Plaintiffs allege that these accounts, the “1AA6

Address” on Poloniex, and the “1J1d Address” on Bittrex, were controlled by



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Defendants, and that, from October 2014 through December 2018, Defendants

issued $3 billion in USDT — comprising 72% percent of all USDT issued during

that time — to the 1AA6 and 1J1d Addresses. Id. at 78-79. According to

Plaintiffs, Defendants then used the secretly debased USDT in these accounts

to buy other cryptocommodities on the open market from counterparties who

believed the USDT was fully backed by U.S dollars, thereafter returning the

non-USDT cryptocommodities to the Bitfinex exchange to be sold for actual

U.S. dollars or other crypto-assets. Id. at 81-82. Put simply, “Plaintiffs allege

that Tether and Bitfinex were issuing [debased] USDT to themselves,” then

swapping that debased USDT for cryptocommodities of real value, leaving the

market holding the bag. Id. at 79.

      Plaintiffs claim that this scheme to exchange debased USDT for other

cryptocommodities was executed in such a way and at such a scale as to move

the market prices of the cryptocommodities themselves. See In re Tether, 576

F. Supp. 3d at 81-82. Importantly, because USDT and other

cryptocommodities are traded on traceable blockchains, Plaintiffs have access

to significant and specific data tracing the flow of the allegedly debased USDT.

The data, Plaintiffs maintain, reveal a correlation between Defendants’

issuances of debased USDT and the reversal of dips in the market price of

certain cryptocommodities, namely, Bitcoin. Id. at 82. As Plaintiffs explain,

this phenomenon reflects the market’s perception that the influx of USDT onto

the market represented a significant increase in demand for

cryptocommodities, leading to a resulting increase in their price. Id.



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      In Plaintiffs’ view, the correlation between issuances of debased USDT

and cryptocommodity prices reveals Defendants’ efforts to manipulate the

market prices of cryptocommodities in accordance with their own agenda. In re

Tether, 576 F. Supp. 3d at 81. As Plaintiffs further emphasize, this scheme

would not have been possible if the market were aware of the spurious nature

of the collateral backing the debased USDT flooding the market, information

Defendants took care to conceal. Id. Had the reality of the USDT’s collateral

(or lack thereof) come to light, the illusion that USDT represented U.S. dollars

would have been lost, as would the demand signal associated with Tether’s

issuances of USDT.

      3.    The Amended Price Manipulation Scheme of the PSAC

      As discussed in greater detail below, the PSAC maintains a largely

overlapping theory of market manipulation with that of the CAC, with two

significant amendments. First, the PSAC recognizes the fact, revealed during

discovery, that the debased USDT issued by Tether as a part of Defendants’

scheme was actually backed by Bitfinex receivables of a certain U.S. dollar

amount. (See, e.g., PSAC ¶¶ 1-4). In other words, the USDT issued by Tether

was, in fact, collateralized — just not by U.S. dollars, as Tether had

represented. Still, the PSAC alleges that USDT backed only by Bitfinex

receivables was still debased, inasmuch as the value of an inherently risky

receivable is necessarily less than the value of cash. (See id. ¶¶ 192-196).

Furthermore, the risk inherent in holding Bitfinex receivables was exacerbated

by the company’s liquidity issues, meaning the value of those receivables was



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even further diminished. (See id. ¶¶ 197-205). That is all to say that the PSAC

maintains the CAC’s overarching narrative, i.e., that Defendants, knowing the

true nature of USDT’s collateral, made false representations to the market that

USDT was actually backed one-to-one by U.S. dollars in order to maintain the

potency of USDT as a demand signal when deployed on the open market, and

to preserve the debased USDT as a tool for price manipulation. (See id.

¶¶ 364-367).

      Second, the PSAC concedes that



                                        . Rather, the PSAC alleges that

                              the Anonymous Trader, a non-party to this

litigation, who employed the debased USDT in support of an automated cross-

exchange arbitrage trading strategy. (See PSAC ¶¶ 276-278). The PSAC

therefore reflects Plaintiffs’ amended theory that Defendants utilized the

Anonymous Trader’s automated trading activity,

       , as the vehicle for introducing the debased USDT into the market and

effectuating their manipulative scheme. (See id. ¶¶ 275-289, 344-367).

      In addition to these two substantive amendments, the PSAC also adds

detailed allegations regarding the relationship between Defendants and the

Anonymous Trader, and the lengths to which Defendants went to facilitate the

Anonymous Trader’s activity on Bitfinex. Notably, Plaintiffs allege that

Defendants implemented a generous margin trading policy, allowing the

Anonymous Trader to access and trade USDT on credit, i.e., without providing



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any dollars up front. (See PSAC ¶¶ 10-11; see also id. ¶ 313 (alleging that

“Bitfinex credited assets to customers’ accounts, allowing them to trade, before

receiving the funds or crypto assets that the customers deposited”)). According

to Plaintiffs, this policy was so generous that the Anonymous Trader received

            USDT

                        , without ever “wir[ing] any fiat currency to Bitfinex or

Tether.” (See id. ¶ 279). Plaintiffs further allege that Defendants maintained a

persistent price premium on Bitfinex in order to incentivize the Anonymous

Trader’s arbitrage algorithm to liquidate cryptocommodities purchased with

debased USDT on Bitfinex, rather than another exchange. (See id. ¶¶ 308-

321). The PSAC also details communications between Defendants and the

Anonymous Trader, including at least one exchange where Defendants and the

Anonymous Trader corresponded about moving the price of Bitcoin. (See id.

¶¶ 322-336). As in the CAC, however, the PSAC maintains that it was

Defendants’ issuance of debased USDT at scale — and the market’s

concomitant misimpression that the influx of USDT represented increased

organic demand (rather than the Anonymous Trader’s arbitrage strategy) —

that artificially inflated prices for cryptocommodities. (See, e.g., id. ¶¶ 13, 350-

362).

B.      Procedural History

        As noted, the fact discovery period of this case has been extensive, and

fraught with significant disagreement amongst the parties. For the sake of




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brevity, however, the Court details only those events since the issuance of its

prior opinion that are relevant to Plaintiffs’ motion to amend.

      Following the Court’s resolution of the motions to dismiss, Defendants

filed their answers on October 28, 2021. (Dkt. #183-186). Before the Court

could enter any scheduling order governing discovery, however, on

November 12, 2021, Bittrex and Poloniex filed a letter seeking a pre-motion

conference to discuss a proposed motion for summary judgment and the

possibility of limited discovery pending resolution of that motion. (Dkt. #188).




                                         . Bittrex and Poloniex asserted that

such information absolved them of Plaintiffs’ claims of wrongdoing, a position

Plaintiffs strongly opposed. (Dkt. #188, 191). Thereafter, on November 18,

2021, the parties provided dueling proposed civil case management plans and

scheduling orders. (Dkt. #193).

      By order dated November 22, 2021, the Court denied Bittrex and

Poloniex’s request for a pre-motion conference and limited discovery, directed

the parties to treat “all materials related to the [A]nonymous [T]rader … as

strictly [Attorneys’ Eyes Only] in the first instance,” and resolved the parties’

remaining disputes over the case management plan. (Dkt. #195). To that end,

on that same day, the Court entered the parties’ first Civil Case Management

Plan and Scheduling Order, establishing that “[a]ny motion to amend or to join



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additional parties shall be filed within 30 days from the date of this Order.”

(Dkt. #194). The Order further provided that “all [f]act discovery shall be

completed no later than 18 months from the date of this Order.” (Id.).

      Thus began a turbulent discovery period, punctuated by the Court’s

reappointment of interim class counsel (see October 13, 2022 Minute Entry;

Dkt. #253 (Transcript of Proceedings)), and lasting until January 23, 2023, at

which time Plaintiffs filed a letter motion seeking an extension of the fact

discovery deadline (Dkt. #274), which motion Defendants opposed (Dkt. #283).

In a conference on February 8, 2023, the Court granted the Plaintiffs’ motion

for an extension of the fact discovery deadline, and on February 17, 2023, the

Court entered the parties’ Amended Civil Case Management Plan and

Scheduling Order, setting the fact discovery deadline for July 24, 2023. (See

February 8, 2023 Minute Entry; Dkt. #295 (Transcript of Proceedings); Dkt.

#298 (Amended CMP)).

      As discovery continued, so too did the discovery disputes, as the parties

litigated the language of Plaintiffs’ proposed interrogatories (see, e.g.,

Dkt. #310, 318, 321); the diligence of certain Defendants’ search for and

production of relevant documents (see, e.g., Dkt. #322); Plaintiffs’ desire to

compel the production of additional trading information from the B/T

Defendants (see, e.g., Dkt. #347); and Plaintiffs’ motion to expand the

deposition limit to accommodate 15 depositions (see Dkt. #356). Events once

again came to a head on June 1, 2023, when Plaintiffs again filed a letter

requesting a 90-day extension of the fact discovery deadline. (Dkt. #374). At a



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conference held on June 6, 2023, the parties represented to the Court that an

extension was necessary because document production remained ongoing and

had been hampered, to a degree, by the parties’ myriad disputes. (See June 6,

2023 Minute Entry; Dkt. #384 (Transcript of Proceedings)). Given the volume

of outstanding discovery, the Court granted the extension and subsequently

entered the parties’ Second Amended Civil Case Management Plan and

Scheduling Order on June 15, 2023, setting a fact discovery deadline of

October 23, 2023. (Dkt. #387).

      In the final phase of fact discovery, the parties’ discovery disputes

focused on depositions, with disagreements as to both form and substance.

Notably, on August 2, 2023, the Court endorsed the parties’ joint letter

regarding a proposed deposition of the Anonymous Trader, which deposition

was held on September 10, 2023. (Dkt. #420, 468-10). Thereafter, the parties

conducted depositions of Defendants, including the Rule 30(b)(6) deposition of

Bitfinex on September 12, 2023 (King Decl., Ex. 4), and the individual

depositions of van der Velde on September 29, 2023 (id., Ex. 14), Devasini on

October 5, 2023 (id., Ex. 5), and Potter on October 6, 2023 (id, Ex. 6).

      Fact discovery closed on October 23, 2023, and on that same day

Plaintiffs filed a stipulation of dismissal with prejudice as to Poloniex. (Dkt.

#477). One day later, on October 24, 2023, Plaintiffs filed their motion for

leave to amend, representing in that motion that the PSAC “drop[s] Bittrex,

Poloniex, and Crypto Capital,” as Defendants. (Dkt. #479-480).




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      On October 31, 2023, the parties appeared before the Court for a post-

fact discovery conference, at which conference the Court set a briefing schedule

for the motion. (See October 31, 2023 Minute Entry; Dkt. #490 (Transcript of

Proceedings)). Pursuant to that schedule, the B/T Defendants and Potter each

filed their oppositions to Plaintiffs’ motion to amend on December 8, 2023.

(Dkt. #503 (Potter MTA Opp.), 505 (B/T MTA Opp.)). Finally, Plaintiffs filed

their reply on January 12, 2024. (Dkt. #515 (Pl. MTA Reply)). 3

      On June 26, 2024, the Court filed and provided to the parties an

unredacted copy of this Opinion under seal and allowed the parties to propose

redactions in accordance with Lugosch v. Pyramid Co. of Onondaga, 435 F.3d

110 (2d Cir. 2006). On or before July 19, 2024, the parties shall file a joint

letter suggesting redactions to the Opinion. Taking the parties’ suggestions

into consideration, the Court will then file a redacted version of the Opinion on

the public docket.

                                      DISCUSSION

A.    Motions to Amend Under Fed. R. Civ. P. 15 and 16

      When considering a motion for leave to amend following the close of fact

discovery, a court’s analysis is guided by two Federal Rules of Civil Procedure.

Rule 15(b)(2) authorizes a party to “move — at any time, even after judgment —

to amend the pleadings to conform them to the evidence and to raise an


3     After some back and forth over proposed redactions, on April 8, 2024, Plaintiffs filed a
      motion for leave to file redacted versions of the PSAC and accompanying motion for
      leave to amend. (Dkt. #539). On April 12, 2024, the B/T Defendants filed a letter
      attaching a separate letter from the Anonymous Trader to the Court opposing Plaintiffs’
      motion. (Dkt. #542). As set forth herein, the Court accepts Plaintiffs’ proposed
      redactions, and therefore will grant Plaintiffs’ motion.


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unpleaded issue.” Fed. R. Civ. P. 15(b)(2). When considering a motion for leave

to amend pursuant to Rule 15(b)(2), the court “should freely give leave [to

amend] when justice so requires,” as further set forth by Rule 15(a)(2). Fed. R.

Civ. P. 15(a)(2). The Second Circuit has correspondingly held that a court may

deny such a motion only on the grounds of “undue delay, bad faith, dilatory

tactics, undue prejudice to the party to be served with the proposed pleading,

or futility.” Quaratino v. Tiffany & Co., 71 F.3d 58, 66 (2d Cir. 1995). “The

permissive standard of Rule 15 is consistent with [the Second Circuit’s] strong

preference for resolving disputes on the merits,” rather than on pleading

technicalities. Loreley Fin. (Jersey) No. 3 Ltd. v. Wells Fargo Secs., LLC, 797

F.3d 160, 190 (2d Cir. 2015) (internal quotation marks omitted) (citing Williams

v. Citigroup Inc., 659 F.3d 208, 212-13 (2d Cir. 2011) (per curiam)); see also

Foman v. Davis, 371 U.S. 178, 182 (1962) (“If the underlying facts or

circumstances relied upon by a plaintiff may be a proper subject of relief, [she]

ought to be afforded an opportunity to test [her] claim on the merits.”).

      By contrast, Rule 16(b) dictates that where, as here, “a party files a

motion to amend after the pleading deadline set forth in the case management

plan and scheduling order,” she “must establish ‘good cause’ to amend [her]

pleadings.” Pristine Jewelers NY, Inc. v. Broner, 492 F. Supp. 3d 130, 131-32

(S.D.N.Y. 2020) (citation omitted). In contrast to the permissive standard of

Rule 15, the “good cause” requirement of Rule 16(b) “is not a forgiving

standard.” Mangahas v. Eight Oranges Inc., No. 22 Civ. 4150 (LJL), 2023 WL

3170404, at *3 (S.D.N.Y. May 1, 2023). “To show good cause, a movant must



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demonstrate diligence before filing her motion, such that despite the movant’s

effort, the deadline to amend the pleadings could not have been reasonably

met.” Scott v. Chipotle Mexican Grill, Inc., 300 F.R.D. 193, 197 (S.D.N.Y. 2014).

Stated differently, “the good cause standard of Rule 16 is not satisfied when the

proposed amendment rests on information that the party knew or should have

known, in advance of the deadline.” Sherman v. Fivesky, LLC, No. 19 Civ. 8015

(LJL), 2020 WL 5105164, at *1 (S.D.N.Y. Aug. 31, 2020) (internal quotation

marks and citation omitted). As with the Rule 15 analysis, “[t]he [c]ourt ‘also

may consider other relevant factors, including, in particular, whether allowing

the amendment of the pleading at this stage of the litigation will prejudice [non-

movants].’” Weng v. HungryPanda US, Inc., No. 19 Civ. 11882 (KPF), 2021 WL

1750305, at *2 (S.D.N.Y. May 4, 2021) (quoting Kassner v. 2nd Ave.

Delicatessen Inc., 496 F.3d 229, 244 (2d Cir. 2007)).

      While the Rule 15 and Rule 16 standards “share some overlapping

factors, there remain important differences.” Schleifer v. Lexus of Manhattan,

No. 17 Civ. 8789 (AJN), 2018 WL 11593271, at *2 (S.D.N.Y. Nov. 21, 2018).

“Chief among these [differences] is that the burden under Rule 16(b) lies with

the party seeking to amend, while under Rule 15(a) it is on the opposing party

to make a showing of prejudice or bad faith.” Id. (citing Parker v. Columbia

Pictures Indus., 204 F.3d 326, 340 (2d Cir. 2000); Block v. First Blood Assocs.,

988 F.2d 344, 350 (2d Cir. 1993)). Accordingly, to determine whether leave to

amend should be granted after the close of fact discovery, courts must first

determine whether the movant has met its burden to establish good cause, and



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then determine whether the opposing party can rebut such a showing by

establishing prejudice or bad faith. See AT&T Corp. v. Atos IT Sol’ns & Servs.,

Inc., — F. Supp. 3d —, No. 21 Civ. 4550 (VSB) (RWL), 2024 WL 379952, at *4

(S.D.N.Y. Feb. 1, 2024) (remarking that “the standards of Rule 16(b) must be

met first and cannot be short-circuited by an appeal to those of Rule 15”

(internal quotation marks and citation omitted)).

      Ultimately, whether to permit amendment in light of Rule 16(b) and

Rule 15 is a decision that lies within the court’s discretion. See Kassner, 496

F.3d at 244 (acknowledging “the trial court’s general discretion to limit, by

means of a scheduling order entered under Rule 16(b), the time during which

the pleadings may be amended”); Foman, 371 U.S. at 182 (holding that “the

grant or denial of an opportunity to amend [under Rule 15] is within the

discretion of the District Court”).

B.    The Court Grants Plaintiffs’ Motion to Amend

      Plaintiffs seek the Court’s leave to amend the CAC principally to (i) add

new factual allegations regarding the debased nature of USDT, the relationship

between Defendants and the Anonymous Trader, and that relationship’s role in

the scheme to manipulate the price of cryptocommodities; and (ii) conform

Plaintiffs’ CEA and Sherman Act claims to reflect these new factual allegations.

(See generally PSAC). As discussed, the Court first considers whether Plaintiffs

have demonstrated good cause to amend pursuant to Rule 16(b), focusing

principally on the parties’ arguments pertaining to Plaintiffs’ diligence and

prejudice to Defendants. Finding that Plaintiffs have demonstrated good



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cause, the Court then considers whether leave to amend is appropriate under

Rule 15, primarily considering Defendants’ arguments that Plaintiffs’ proposed

amendments would be futile. As the Court ultimately determines that

Plaintiffs’ CEA and Sherman Act claims are not futile, the Court grants

Plaintiffs’ motion.

      1.     Plaintiffs Have Demonstrated Good Cause to Amend Pursuant
             to Rule 16(b)

      Beginning with Rule 16(b), the Court’s “primary consideration” in

determining whether good cause exists is “whether the moving party can

demonstrate diligence.” Kassner, 496 F.3d at 244. Diligence is not, however,

“the only consideration,” and “in deciding whether there is ‘good cause’ to

amend under Rule 16(b), a trial court may consider not only the diligence of

the moving party but also the prejudice to the opposing party.” Fresh Del

Monte Produce, Inc. v. Del Monte Foods, Inc., 304 F.R.D. 170, 175 (S.D.N.Y.

2014) (internal quotation marks omitted) (citing Kassner, 496 F.3d at 244).

The Court considers both factors below, finding that Plaintiffs acted diligently

in moving to amend, and that Defendants will not be prejudiced by such

amendment.

             a.       Plaintiffs Acted Diligently in Moving to Amend

      To establish diligence, “the moving party must show that, despite its

having exercised diligence, the applicable deadline could not have been

reasonably met.” Sjunde AP-Fonden v. Gen. Elec. Co., 341 F.R.D. 542, 550

(S.D.N.Y. 2022) (internal quotation marks and citation omitted). It is well

established that “if a party learns new facts through discovery that were


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unavailable prior to the applicable deadline and moves promptly to [amend its

allegations] based on such facts, leave to amend is appropriate.” Port Auth.

Police Benevolent Ass’n v. Port Auth. of New York & New Jersey, No. 15 Civ.

3526 (AJN), 2016 WL 6083956, at *5 (S.D.N.Y. Oct. 17, 2016) (collecting cases).

Plaintiffs, for their part, argue that their motion to amend arises under

precisely such circumstances, maintaining that the facts animating the current

motion did not emerge until late in the discovery period, and that Plaintiffs

moved promptly to amend upon the discovery of these facts. (See Pl. MTA

Reply 4-11). While the Court “will not accept [Plaintiffs’] claim that facts

relevant to [their] amendment were previously unavailable just on [Plaintiffs’]

say-so,” as set forth below, the Court’s own review of the record confirms the

Plaintiffs’ account of their diligence. Schleifer, 2018 WL 11593271, at *2.

      First, Plaintiffs credibly represent that it was only in the final months of

fact discovery that Defendants actually produced information clarifying how

Tether’s USDT reserves were structured, revealing Tether’s practice of

collateralizing USDT with Bitfinex receivables. (See Pl. MTA Reply 4-9). As

discussed, the months leading up to the October 23, 2023 close of discovery in

this matter were laden with Plaintiffs’ motions to compel, which motions

sought clarity on the interrelationship between Tether’s reserves and its

receivables, among other topics. (See, e.g., Dkt. #387-475). Things came to a

head in connection with Defendants’ Rule 30(b)(6) deposition of Bitfinex’s

corporate representative, held on September 12, 2023, and the subsequent

deposition of Giancarlo Devasini, Tether and Bitfinex’s CFO, on October 5,



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2023. (See Pl. MTA Reply 6 (citing King Decl., Ex. 4 (“Bitfinex 30(b)(6) Tr.”); id.,

Ex. 5 (“Devasini Tr.”))). Plaintiffs attest that it was in these depositions that

they first became aware of the specifics supporting their general allegations

regarding the problematic interrelationship between Tether’s reserves and

receivables, which specifics Plaintiffs now seek to include in the PSAC. (See id.

(citing Bitfinex 30(b)(6) Tr. 48:8-49:9; Devasini Tr. 26:22-25, 41:24-42:7,

52:23-53:17, 118:10-119:4, 209:16-24)).

      Second, it is likewise evident that the details of Bitfinex’s margin trading

policy (pursuant to which Bitfinex permitted the Anonymous Trader to access

and trade the debased USDT on credit) — as well as Bitfinex’s relationship with

the Anonymous Trader more broadly — only crystallized during the September

and October 2023 depositions. For instance, through Devasini’s deposition,

Plaintiffs learned that Bitfinex maintained standing credit lines for its own

exchange account and routinely extended credit lines to high-volume users,

but did not have complete records documenting those credit lines. (See Pl.

MTA Reply 8 (citing Devasini Tr. 26:22-25, 118:10-119:4, 129:10-13, 209:16-

24)). And more to the point, while Plaintiffs became aware of

                                                                      in or around

October 2020, the actual facts regarding the Anonymous Trader’s relationship

with the B/T Defendants did not emerge until the Anonymous Trader’s

deposition on September 10, 2023, and Plaintiffs’ subsequent depositions of

the B/T Defendants. (See Dkt. #468-10; King Decl., Ex. 4-6, 14).




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      Moreover, the granularity of the facts that came to light in these

depositions and interrogatory responses rebuts Defendant’s arguments that

Plaintiffs had access to this information earlier in the litigation and, by

extension, were dilatory in their motion to amend. (See B/T MTA Opp. 19). As

one notable example, Defendants maintain that public settlement

announcements issued in 2021 by the New York Attorney General and the

Commodity Futures Trading Commission referenced the fact that USDT was

backed by receivables held by Tether, and revealed that Bitfinex permitted

margin trading, such that the information revealed in the B/T Defendants’

depositions was hardly revelatory. (B/T MTA Opp. 11, 20). Defendants

similarly identify

                                                                         . (Id. at

20). Still, while the broad contours of the issues were evident from those

materials, they did not contain the critical details regarding (i) the magnitude of

Bitfinex’s receivables and how they were accounted for in Tether’s USDT

reserves; (ii) the connection of those receivables to Bitfinex’s margin trading

policy; and (iii) the Anonymous Trader’s relationship with the B/T Defendants,

which details all emerged in depositions held near the close of fact discovery.

      The Court therefore agrees with Plaintiffs that the facts comprising the

substantive amendments in the PSAC did not emerge until late in discovery,

namely September and October 2023. Plaintiffs’ motion to amend, filed on

October 24, 2023, consequently demonstrated sufficient diligence to satisfy

Rule 16(b). See Atos IT Sol’ns & Servs., 2024 WL 379952, at *7 n.14 (noting



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that “courts commonly find that a party acts diligently if it seeks leave to

amend within approximately two months of acquiring a new claim or defense”

(collecting cases)); see also Schleifer, 2018 WL 11593271, at *3 (observing that

“courts in [the Second Circuit] have found that parties who moved to amend

within two months of acquiring the new information showed sufficient diligence

to satisfy Rule 16(b)” (collecting cases)).

             b.     Defendants Will Not Be Prejudiced by Amendment

      Having found Plaintiffs acted diligently in moving to amend following the

close of fact discovery, the Court next considers whether Defendants would be

prejudiced by amendment. See Ruotolo v. City of New York, 514 F.3d 184, 191

(2d Cir. 2008) (observing that leave to amend “may properly be denied … for

undue prejudice to the opposing party by virtue of allowance of the

amendment” (internal quotation marks omitted)). “In gauging prejudice,”

courts should consider “whether an amendment would require the opponent to

expend significant additional resources to conduct discovery and prepare for

trial or significantly delay the resolution of the dispute.” Id. (internal quotation

marks and citation omitted).

      Unsurprisingly, Defendants argue that amendment at this stage would

be highly prejudicial, characterizing Plaintiffs’ proposed amendments as

essentially seeking to assert a new theory of the case, requiring substantial

new discovery, and raising the possibility of delay. (B/T MTA Opp. 24). Upon

its own comparison of the allegations of the CAC against those of the PSAC, the

Court finds Defendants’ concerns to be largely overblown, as Plaintiffs’



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“amended claim[s] [were] obviously one of the objects of discovery and related

closely to the original claim[s],” such that amendment will clarify, rather than

complicate, this case. State Tchrs. Ret. Bd. v. Fluor Corp., 654 F.2d 843, 856

(2d Cir. 1981).

      As discussed, the CAC “detail[s] a wide-ranging conspiracy to artificially

inflate the price of [] cryptocommodities.” In re Tether, 576 F. Supp. 3d at 70.

In particular:

            The thrust of Plaintiffs’ allegations [in the CAC] is that
            [Defendants] engaged in a scheme to make large,
            carefully-timed purchases of cryptocommodities using
            a fraudulently issued crypto-asset — called “tether” or
            “USDT” — in an effort to signal to the market that there
            was enormous, organic demand for cryptocommodities,
            thus causing the price of those commodities to spike,
            and thereby creating and sustaining a “bubble” in the
            cryptocommodity market.

Id. The CAC also contains detailed allegations concerning Tether’s numerous

public representations that “each USDT would be backed by one U.S. dollar

held in Tether’s reserves,” such that the market would perceive transactions in

USDT as representing legitimate market demand, when in reality Tether’s

USDT were not collateralized as such. Id. at 78-79. Finally, the CAC alleges

that it was Defendants, through Bitfinex, who purchased cryptocommodities

with the debased USDT on the open market, via the 1AA6 and 1J1d Addresses

on Poloniex and Bittrex, respectively. Id. at 81-82.

      The PSAC amends this overarching narrative to explain that (i)



                                                  ,                 Defendants



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relied on the Anonymous Trader’s automated cross-exchange arbitrage trading

program,                                                 , to flood the market with

debased USDT (see, e.g., PSAC ¶¶ 332-343); and (ii) the debased USDT used to

effectuate the scheme was not wholly unbacked, but rather backed only by

risky Bitfinex receivables worth far less than their nominal amount (see id.

¶¶ 192-205). In short, the PSAC clarifies that Defendants effectuated the same

broad market manipulation scheme described in the CAC by relying on the

Anonymous Trader’s algorithmic bot — fed by Defendants’ debased USDT

supplied on credit (rather than in exchange for U.S. dollars) —

                                       .

      Thus, and contrary to Defendants’ assertions, the PSAC does not present

a “complicated and wholly new conspiracy” involving the Anonymous Trader, of

which Defendants had no notice prior to the close of discovery. (B/T MTA

Opp. 24-25). The PSAC remains principally concerned with Defendants’

alleged strategic issuance of secretly debased USDT, knowing that the debased

USDT would be used to drive predictable increases in the prices of

cryptocommodities, all to Defendants’ ultimate profit. (

                                                                       ). In effect,

the PSAC refines Plaintiffs’ theory of market manipulation by updating general

theories with specific allegations that are “related closely to the original claim,”

such that amendment is appropriate. State Tchrs., 654 F.2d at 856; see also

Edwards v. City of Goldsboro, 178 F.3d 231, 243 (4th Cir. 1999) (observing that

“[p]rejudice ... could hardly flow” from the addition of allegations “derived from



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evidence obtained during discovery regarding matters already obtained in the

complaint in some form”).

      Plaintiffs’ approach here stands in stark contrast to that of the plaintiffs

in the cases cited by Defendants in support of their position. In those cases,

amendment was found to be prejudicial, as it would permit the plaintiffs to

broaden their allegations from the specific to the general, after discovery

revealed those plaintiffs’ operative claims were likely to fail. In Baez, for

example, the plaintiff sought leave to amend in order to abstract his theory of

tort liability from a specific claim arising from the defendant’s negligent

maintenance of a single vehicle, to a general one concerning “the longstanding

customs and practices employed by [defendant]” in maintaining its entire fleet

of vehicles. Baez v. Delta Airlines, Inc., No. 12 Civ. 3672 (KPF), 2013 WL

5272935, at *4, 8 (S.D.N.Y. Sept. 18, 2013). In denying leave to amend, this

Court recognized that such an approach was prejudicial because it would

essentially restart the case with claims “based upon different facts and []

requir[ing] the application of different law.” Id. at 6, 8 (further observing that

the amendment implicated “topics not explored through discovery”). Similarly,

the court in Ahmed denied leave to amend after discovery had closed where the

“plaintiff’s proposed pleading not only adds a new defendant but substantially

alters the theory of the case.” Ahmed v. Astoria Bank, No. 14 Civ. 4595 (JBW)

(RLM), 2015 WL 4394072, at *3 (E.D.N.Y. July 16, 2015).

      More significantly, in both Baez and Ahmed, each court’s finding of

prejudice was informed by a separate determination that the plaintiff had not



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demonstrated diligence in moving to amend. 4 There, each plaintiff’s new

factual allegations were drawn not from information revealed during discovery,

but instead from “information [that] ha[d] long been known to plaintiff,” well in

advance of discovery. Ahmed, 2015 WL 4394072, at *3; see also Baez, 2013

WL 5272935, at *6 (remarking that the proposed amendment reflected “facts []

learned long before [p]laintiff swore out his affidavit or sat for his deposition”).

      In contrast to Baez and Ahmed, Plaintiffs’ proposed amendments

implicate neither new claims nor facts previously unknown to Defendants, but

instead stem from underlying facts about which Defendants had full notice.

See Kreppein v. Celotex Corp., 969 F.2d 1424, 1427 (2d Cir. 1992) (finding no

prejudice where “[t]he defendants were on notice of the underlying facts relied

upon by plaintiff”). Indeed, and as discussed, Plaintiffs’ pursuit of information

regarding Tether’s reserves, Bitfinex’s margin trading policy, and Defendants’

relationship with the Anonymous Trader was litigated extensively in discovery,

such that Defendants were aware of the direction in which the case was

heading. Likewise, the new factual allegations set forth in the PSAC are

principally drawn from the depositions of Defendants’ witnesses, to whom

Defendants have unfettered access, as well as from the deposition of the

Anonymous Trader, whom Defendants had ample time to depose following

Plaintiffs’ examination. See State Tchrs., 654 F.2d at 856 (finding no prejudice


4     Similar, too, were the circumstances of Sokol Holdings, Inc. v. BMB Munai, Inc., No. 05
      Civ. 3749 (KMW), 2009 WL 3467756, at *6 (S.D.N.Y. Oct. 28, 2009), in which case the
      court denied the plaintiffs’ motion for leave to amend on the basis of their lack of
      diligence, and expressly noted that “[c]onsideration of prospective prejudice to
      [d]efendants … [was] therefore not warranted.” (See B/T Opp. 24 (citing Sokol Holdings,
      2009 WL 3467756, at *6)).


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based on the time plaintiffs spent to verify information that was “better known

to the defendants than to the plaintiffs”). To the extent that Defendants believe

that it becomes necessary to supplement the factual record in this case, they

can do so via affidavit or analogous written submission. The expenditure of

resources in doing so, however, does not itself inherently prejudice Defendants.

See Hadassah v. Hadassah Acad. Coll., No. 19 Civ. 8953 (JPO), 2021 WL

4459121, at *4 (S.D.N.Y. Sept. 29, 2021) (allowing amendment where inclusion

would not require expenditure of significant additional resources, cause delay,

or alter “the focus of the entire case” (internal quotation marks and citation

omitted)).

      Accordingly, the Court finds that Plaintiffs have demonstrated diligence

in moving to amend, and that Defendants would not be prejudiced by

amendment. It is not the case, as Defendants would have it, that Plaintiffs are

attempting to restart this action based on an entirely new theory of liability.

Rather, the PSAC will realign the allegations of the complaint to facts adduced

during discovery, and in doing so will support a more efficient resolution of the

issues on the merits. The Court therefore finds that Plaintiffs have established

good cause to depart from the deadline for amendment set forth in the CMP.

      2.     Leave to Amend Is Likewise Appropriate Under Rule 15(a)

      The Court next considers whether leave to amend is appropriate

pursuant to Rule 15(a). As discussed, Rule 15(a) provides that “[t]he court

should freely give leave [to amend] when justice so requires.” Fed. R. Civ.

P. 15(a). Having already found that good cause exists to permit amendment



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under the higher bar of Rule 16(a), the Court finds as a threshold matter that

Plaintiffs have demonstrated that amendment would be consistent with the

interests of justice under Rule 15(a). See, e.g., Infinity Headwear & Apparel,

LLC v. Jay Franco & Sons, Inc., No. 15 Civ. 1259 (JPO), 2016 WL 5372843, at

*7 (S.D.N.Y. Sept. 26, 2016) (finding that, where a movant “satisfie[d] the

standards of Rule 16(b) [it] by extension [satisfied] the laxer standard of Rule

15(a)”).

      The Court’s analysis, however, does not end there, as it is well-

established that leave to amend is inappropriate where the proposed

amendments would be futile. See Aetna Cas. & Sur. Co. v. Aniero Concrete Co.,

404 F.3d 566, 603 (2d Cir. 2005) (per curiam) (observing that under Rule 15,

leave to amend may be denied “for such reasons as ... futility of the

amendment”). Therefore, the Court must consider Defendants’ arguments that

Plaintiffs’ proposed amendments to the CAC would serve no purpose.

      When assessing the futility of proposed amendments, the Court applies a

standard akin to that used when considering a motion to dismiss pursuant to

Rule 12(b)(6). See, e.g., Anderson News, L.L.C. v. Am. Media, Inc., 680 F.3d

162, 185 (2d Cir. 2012) (directing that “[t]he adequacy of a proposed amended

complaint to state a claim is to be judged by the same standards as those

governing the adequacy of a filed pleading”); see also Raffington v. Bon Secours

Health Sys., Inc., 285 F. Supp. 3d 759, 776-67 (S.D.N.Y. 2018) (observing that

a claim is futile if it could not “survive a motion to dismiss under Fed. R. Civ.

P. 12(b)(6)”). The Court accepts the facts alleged by the party seeking



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amendment as true and construes them in the light most favorable to that

party. Aetna, 404 F.3d at 604. Importantly, “[t]he party opposing a motion to

amend bears the burden of establishing that an amendment would be futile.”

Sjunde AP-Fonden, 341 F.R.D. at 550 (citing Ouedraogo v. A-1 Int’l Courier

Serv., Inc., No. 12 Civ. 5651 (AJN), 2013 WL 3466810, at *6 (S.D.N.Y. July 8,

2013)).

      As Defendants challenge the viability of each claim raised in the PSAC,

the Court’s analysis proceeds claim-by-claim, beginning with those arising

under the CEA. Ultimately, the Court finds that the PSAC raises viable claims

under both the CEA and the Sherman Act therefore and grants Plaintiffs’

motion to amend.

             a.    Plaintiffs Plead a Viable Commodities Exchange Act
                   Claim

      In the PSAC, Plaintiffs assert one count under the CEA for market

manipulation in violation of 7 U.S.C. §§ 9 and 25 and Commodity Futures

Trading Commission (“CFTC”) Rule 180.1(a), 17 C.F.R. § 180.1. (See PSAC

¶¶ 407-416). Plaintiffs assert this claim on behalf of a subclass of “[a]ll

persons or entities that purchased or otherwise acquired Cryptocommodity

Futures in the United States or its territories [during the class period].”

(Id. ¶ 395). Defendants maintain that Plaintiffs’ amended CEA claim is futile,

arguing principally that Plaintiffs cannot plead the artificial inflation of

cryptocommodity prices, and that Plaintiffs’ allegation that Bitfinex caused a

Bitcoin price premium on its exchange is implausible. (B/T MTA Opp. 26-32).

Defendants also assert that amendment is futile because Plaintiffs have failed


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to plead that Defendants conspired with the Anonymous Trader, or otherwise

caused the at-issue trades. (Id. at 32). As explained below, the Court is

unpersuaded by Defendants’ arguments, and will permit Plaintiffs’ CEA claim

to move forward. 5

      As Plaintiffs raised similar market manipulation claims in the CAC, the

Court assumes familiarity with the governing law, and sets forth only what is

necessary to its consideration of the viability of the amended claims. See In re

Tether, 576 F. Supp. 3d at 109-13. Broadly, CEA Sections 6(c)(1) and 22, as

well as 7 U.S.C. §§ 9 and 25, make it unlawful for “any person, directly or

indirectly, to use or employ or attempt to use or employ … any manipulative or

deceptive device or contrivance.” CFTC Rule 180.1(a), in relevant part, makes

it unlawful for any person to “intentionally or recklessly” “[m]ake, or attempt to

make, any untrue or misleading statement of a material fact”; to “omit a

material fact necessary in order to make the statements made not untrue or

misleading”; or to “[e]ngage, or attempt to engage, in any practice, or course of


5     As a threshold matter, Defendants also raise the argument that application of the CEA
      would be impermissibly extraterritorial. (B/T MTA Opp. 42-44). Accepting the well-
      pleaded allegations of the PSAC as true, and construing them in Plaintiffs’ favor,
      however, the Court finds that Plaintiffs have alleged “facts concerning the formation of
      the contracts, the placement of purchase orders, the passing of title, or the exchange of
      money” in the United States. Absolute Activist Value Master Fund Ltd. v. Ficeto, 677
      F.3d 60, 68, 70 (2d Cir. 2012) (observing that such allegations support the “plausible
      inference that the parties incurred irrevocable liability within the United States”). In
      particular, Plaintiffs allege not only that Goldshtein entered into [B]itcoin futures
      contracts from the United States (PSAC ¶ 22), but also that the B/T Defendants utilized
      the U.S. financial system to distribute the allegedly debased USDT (id. ¶¶ 139, 160),
      required customers to have a U.S. bank account or a bank that maintained a
      correspondent account with a U.S. bank (id. ¶ 161), and approved the transfers of
      allegedly debased USDT from the United States (id. ¶¶ 38, 299). Accordingly, the Court
      finds that Defendants have not met their burden to demonstrate that the CEA claims
      pleaded in the PSAC would be futile due to extraterritoriality, regardless of whether
      such claims were waived by having not been raised earlier in the proceeding.



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business, which operates or would operate as [] fraud or deceit.” 17 C.F.R.

§ 180.1(a).

      When evaluating manipulation claims sounding in fraud, courts apply a

relaxed form of the Rule 9(b) pleading standard, reflecting the Second Circuit’s

“recogni[tion] that ‘a claim of manipulation can involve facts solely within the

defendant’s knowledge,” and corresponding instruction that “‘at the early

stages of litigation, the plaintiff need not plead manipulation to the same

degree of specificity as a plain misrepresentation claim.’” In re Tether, 576 F.

Supp. 3d at 110 (alteration adopted) (quoting In re Platinum & Palladium

Antitrust Litig., No. 14 Civ. 9391 (GHW), 2017 WL 1169626, at *49 (S.D.N.Y.

Mar. 28, 2017) (“Platinum I”), aff’d in relevant part, 61 F.4th 242 (2d Cir. 2023)

(“Platinum II”)); see also ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87,

102 (2d Cir. 2007) (same). Such a standard “is satisfied when the complaint

‘simply specif[ies] what manipulative acts were performed, which defendants

performed them, when the manipulative acts were performed, and what effect

the scheme had on the market for the securities at issue.’” Commodity Futures

Trading Comm’n v. Gorman, 587 F. Supp. 3d 24, 39 (S.D.N.Y. 2022) (quoting

Platinum I, 2017 WL 1169626, at *49). In the PSAC, Plaintiffs pursue claims of

market manipulation under both a manipulative device theory and a price

manipulation theory, each of which the Court addresses in turn.

                   i.    Plaintiffs Allege a Viable Manipulative Device Claim

      “[W]here — as here — plaintiffs allege both ‘manipulation and

misrepresentation as part of a single scheme,’ they may satisfy their pleading



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burden” to establish a manipulative device claim “‘by alleging with particularity

the nature, purpose, and effect of the fraudulent conduct and the roles of the

defendants.’” In re Tether, 576 F. Supp. 3d at 112 (quoting In re Commodity

Exch., Inc., 213 F. Supp. 3d 631, 673 (S.D.N.Y. 2016)); see also ATSI Comm’cns,

493 F.3d at 102 (same). Such a showing is sufficient, “and [plaintiffs] need not

also plead loss causation or reliance at the motion to dismiss stage.” In re

Tether, 576 F. Supp. 3d at 112.

      As to the facts, Plaintiffs have alleged with particularity the various roles

Defendants played in the manipulative device and have adequately pleaded

scienter. The PSAC details how Defendants allegedly debased USDT by issuing

tokens backed not by the promised one-to-one U.S. dollar reserve, but instead

by a less-valuable receivable, primarily from Bitfinex. (See PSAC ¶¶ 180, 167-

191, 411). Defendants purportedly concealed this debasement by continuing

to represent to the market that the issued USDT was fully backed by actual

U.S. dollars, so that the market would interpret transactions in USDT as

reflecting higher demand. (See id. ¶¶ 5, 411). Next, the PSAC alleges that

Defendants manipulated the market by providing this debased USDT to the

Anonymous Trader, via Bitfinex, at such a scale as to not only enable the

Trader’s arbitrage strategy to profit from cross-exchange pricing differentials,

but also send a false signal to the market that there was a spike in demand for

cryptocommodities, therein artificially increasing prices for those

cryptocommodities. (Id. ¶¶ 290-362). Plaintiffs allege that Bitfinex further

enabled this strategy by maintaining a generous margin trading policy that



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allowed the Anonymous Trader to access this debased USDT on credit, without

actually depositing any dollars with Bitfinex during the Class Period. (Id.

¶¶ 279, 313-321, 332).

      What is more, to demonstrate the impact of this device on the market,

Plaintiffs provide evidence illustrating a correlation between Defendants’

transfers of allegedly debased USDT and higher BTC-USDT trading volumes,

and the corresponding inflation of Bitcoin prices. (See PSAC ¶¶ 344-362). And

to plead scienter, Plaintiffs allege that Defendants engaged in such conduct

knowingly, given that Defendants knew (i) the extent to which USDT was not

actually dollar-backed; (ii) that the Anonymous Trader’s arbitrage strategy was

executed by an automated bot that traded USDT from Bitfinex for

cryptocommodities on other exchanges; and (iii) that the Anonymous Trader’s

conduct would drive price inflation. (See id. ¶ 412).

      This issuance of secretly debased USDT and its unchecked pipeline to

the market was plausibly “[m]arket manipulation in [one of] its various

manifestations,” as it functioned as “an artificial stimulus applied to … market

prices, … prevent[ing] the determination of those prices by free competition

alone.” U.S. Commodity Futures Trading Comm’n v. Parnon Energy Inc., 875 F.

Supp. 2d 233, 246 (S.D.N.Y. 2012) (further noting that an artificial price is one

that “does not reflect basic forces of supply and demand” (internal quotation

marks and citation omitted)); see also United States v. Vorley, 420 F. Supp. 3d

784, 802 (N.D. Ill. 2019) (“The market price is only as ‘real’ as the data that

inform the process of price discovery. By the same token, the market price is



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‘artificial’ when the market is misinformed.” (quoting United States v. Reliant

Energy Servs., Inc., 420 F. Supp. 2d 1043, 1058 (N.D. Cal. 2006))).

      While Defendants counter with a number of arguments, each comes up

short at establishing futility. First, Defendants argue that Plaintiffs cannot

state a claim because they cannot show any artificial inflation of

cryptocommodity prices in connection with USDT-fueled trades. (See B/T MTA

Opp. 26). Defendants suggest that the Anonymous Trader purchased USDT

from Bitfinex at parity (i.e., one dollar for one USDT), and therefore that the

Anonymous Trader’s resulting arbitrage activity represented real, organic

demand. (See id. at 26-28). At best, however, Defendants’ argument presents

a fact-based challenge to Plaintiffs’ well-pleaded allegation that the Anonymous

Trader had unrestricted access to USDT on credit alone, by virtue of Bitfinex’s

generous margin trading policy. (See Pl. MTA Reply 15 (citing PSAC ¶ 279)). 6

      Defendants likewise miss the mark in their argument that Plaintiffs’

claims are futile because cross-exchange arbitrage cannot itself cause price

inflation. (B/T MTA Opp. 29-30). As discussed, Plaintiffs’ theory is not that

arbitrage was the mechanism that influenced the prices in the



6     Defendants are similarly premature in their attack on Plaintiffs’ allegation that Bitfinex
      caused a Bitcoin price premium on its exchange. (See B/T MTA Opp. 31-32). The
      allegations set forth in the PSAC plausibly establish that a persistent price premium
      existed during the period and could be facilitated through the combination of Bitfinex’s
      generous margin trading policy, Tether’s issuance of debased USDT, and Bitfinex’s
      commingling of USDT and dollars. (See SAC ¶¶ 280-289, 308-321). See Aetna Cas. &
      Sur. Co. v. Aniero Concrete Co., 404 F.3d 566, 604 (2d Cir. 2005) (per curiam) (holding
      that courts assessing futility must accept as true the well-pleaded factual allegations of
      the proposed amended pleading). Defendants may, at a later point, introduce evidence
      to challenge the plausibility of Plaintiffs’ price premium theory, whether through expert
      analysis or some other format.



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cryptocommodities market. Rather, Plaintiffs allege that it was the flood of

debased USDT, brought to the market via the Anonymous Trader’s arbitrage

bot, that artificially signaled demand to the market, leading to price inflation.

(See PSAC ¶¶ 258-279, 308-321, 337-385). 7 As Plaintiffs’ put it, “Defendants

sought to ride in [the] bot’s inflationary wake  as [the Anonymous Trader]

pushed more and more debased USDT into the market, the price of

cryptocommodities, especially [B]itcoin, rose.” (Id. ¶ 386).

      Finally, Defendants attack Plaintiffs’ position that USDT was actually

debased, relying again on the theory that “any [at-issue] purchases of [B]itcoin

or other cryptocommodities were made with USDT that had been purchased for

[one dollar].” (B/T MTA Opp. 28). To the contrary, however, Plaintiffs plausibly

allege that the Anonymous Trader did not actually purchase the allegedly

debased USDT for any meaningful consideration (i.e., U.S. dollars), and instead

relied on Bitfinex’s generous margin trading policy that permitted the

Anonymous Trader to access                                         USDT on credit alone.

(See PSAC ¶ 279 (“Between March 30, 2017, and September 9, 2018, the

Anonymous Trader never wired any fiat currency to Bitfinex or Tether.”)). 8


7     To that end, Defendants are incorrect that Plaintiffs must plead that Defendants
      actually conspired with the Anonymous Trader or caused his trades. (See B/T MTA
      Opp. 32). Plaintiffs’ theory of manipulation lies in Defendants’ knowing facilitation of
      the Anonymous Trader’s activities, and understanding that the Trader’s automated bot
      could, if supplied with a sufficient amount of debased USDT and tempted by an
      artificially-maintained price premium on the Bitfinex exchange, inflate the prices of
      cryptocommodities to Defendants’ benefit. (See PSAC ¶¶ 290-343).
8
      Defendants’ reliance on Anderson v. Tether Holdings Ltd. does not sway the Court.
      No. 21 Civ. 10613 (LTS), 2023 WL 5001074, at *2 (S.D.N.Y. Aug. 4, 2023). Anderson is
      distinguishable on its facts, as it simply supports the proposition that purchasers of
      USDT did not have standing to pursue claims against Tether for misrepresenting the
      value of USDT, because those purchasers possessed the right to redeem USDT for a


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                     ii.    Plaintiffs Allege a Viable Price Manipulation Claim

      Next, to state a claim for price manipulation under the CEA, Plaintiffs

must allege that: “[i] the defendant possessed an ability to influence market

prices; [ii] an artificial price existed; [iii] the defendant caused the artificial

price; and [iv] the defendant specifically intended to cause the artificial price.”

In re Tether, 576 F. Supp. 3d at 110 (internal quotation marks and citations

omitted). “This final element of scienter ‘can be pled by alleging facts

[i] showing that the defendants had both motive and opportunity to commit the

fraud or [ii] constituting strong circumstantial evidence of conscious

misbehavior or recklessness.’” Id. (quoting In re Commodity Exch., Inc., 213 F.

Supp. 3d at 670).

      Given the conclusions in the preceding section concerning Plaintiffs’

manipulative device theory, the Court finds that the PSAC also sufficiently

alleges the elements of a price manipulation claim. That is, Plaintiffs plausibly

allege that Defendants had and did exercise their ability to influence market

prices through the unchecked issuance of debased USDT, leading to an

artificial price for cryptocommodities. As discussed, Plaintiffs do so by:

(i) identifying the dates on which debased USDT was issued (PSAC ¶¶ 143-

257); (ii) similarly detailing the subsequent dates and times of the Anonymous

Trader’s transactions exchanging the debased USDT for cryptocommodities (id.




      dollar per token at any time. Id. This case, on the other hand, is entirely different as it
      concerns the artificial inflationary effects in the cryptocommodity market connected to
      the issuance of debased USDT, with the harm lying in the Plaintiffs’ overpayment for
      cryptocommodities as a result of such inflation.



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¶¶ 275-289); and (iii) providing “examples showing predictable price

movements in the [cryptocommodities] market” corresponding to trades of this

debased USDT. In re Tether, 576 F. Supp. 3d at 110 (quoting Platinum I, 2017

WL 1169626, at *32); see also In re Commodity Exch., Inc., 213 F. Supp. 3d at

671 (observing that causation may be established by demonstrating that the

defendant’s conduct “had an immediate effect on pricing” in the market). (See

PSAC ¶¶ 344-362).

      As to scienter, Plaintiffs plausibly allege both that Defendants had the

motivation to commit the fraud in light of the significant benefits associated

with the artificial inflation of cryptocommodity prices (see PSAC ¶¶ 388, 413);

as well as the opportunity to do so in light of Defendants’ ability to control the

supply of USDT and move USDT into the market via the Bitfinex exchange and

the Anonymous Trader’s bot (see id. ¶¶ 107-142, 306, 322-336, 412). Accord

In re Tether, 576 F. Supp. 3d at 110 (observing that “[the] final element of

scienter ‘can be pled by alleging facts [] showing that the defendants had both

motive and opportunity to commit the fraud’” (quoting In re Commodity Exch.,

Inc., 213 F. Supp. 3d at 670)). Likewise, Plaintiffs identify facts that

demonstrate “strong circumstantial evidence of conscious misbehavior or

recklessness,” id. (citation omitted), namely by pointing to Defendants’

exclusive knowledge of the extent to which USDT was backed by allegedly

unstable receivables, and their apparent efforts to conceal that information

from the market, id. (See PSAC ¶¶ 143-257, 366, 414).




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      Accordingly, the Court finds that the PSAC presents viable market

manipulation claims, under both a manipulative device and a price

manipulation theory, and therefore will permit amendment to that end.

             b.     Plaintiffs Plead Viable Sherman Act Claims

      Finally, the Court considers the PSAC’s three proposed antitrust claims,

all brought under the Sherman Act. In particular, Plaintiffs seek to bring

claims for monopolization and conspiracy to monopolize under Section 2 of the

Sherman Act, and for unlawful agreement in restraint of trade under

Sections 1 and 3 of the Sherman Act. (PSAC ¶¶ 417-446). As these theories of

liability largely parallel those already found to be viable in the context of

Plaintiffs’ CEA claims, and otherwise track the Sherman Act claims that

previously survived Defendants’ motion to dismiss in this case, the Court

focuses on those arguments raised by Defendants that are not otherwise

foreclosed by the Court’s prior analysis, finding all but one to be unsuccessful

at demonstrating futility. Notably, the Court agrees with Defendants that

claims predicated on an unlawful conspiracy with the Anonymous Trader fall

short of the showing required to state a Section 2 conspiracy to monopolize

claim, and therefore denies leave to amend the CAC to add such a claim.

                    i.    Plaintiffs Have Antitrust Standing

      To establish antitrust standing, “a private antitrust plaintiff [must]

plausibly ... allege [i] that it suffered a special kind of antitrust injury, and

[ii] that it is a suitable plaintiff to pursue the alleged antitrust violations and

thus is an ‘efficient enforcer’ of the antitrust laws.” Gatt Commc’ns, Inc. v. PMC



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Assocs., LLC, 711 F.3d 68, 76 (2d Cir. 2013) (citations and internal quotation

marks omitted). Plaintiffs satisfy both elements via the PSAC.

      The Court first considers whether Plaintiffs have suffered an antitrust

injury, which involves a three-step process:

            [i] the plaintiff must “identify the practice complained of
            and the reasons such a practice is or might be
            anticompetitive”; then [ii] the court must “identify the
            actual injury the plaintiff alleges” by “look[ing] to the
            ways in which the plaintiff claims it is in a worse
            position as a consequence of defendant’s conduct”; and
            finally, [iii] the court must “compare the anticompetitive
            effect of the specific practice at issue to the actual injury
            the plaintiff alleges.”

City of Long Beach v. Total Gas & Power N. Am., Inc., 465 F. Supp. 3d 416, 444-

45 (S.D.N.Y. 2020) (quoting Harry v. Total Gas & Power N. Am., Inc., 889 F.3d

104, 115 (2d Cir. 2018)). Here, because the Court has already found that the

PSAC plausibly alleges a theory of cryptocommodity price manipulation on the

part of Defendants for purposes of the CEA, the Court likewise accepts the

PSAC’s allegations that Plaintiffs were “harmed by purchasing

cryptocommodities at artificially inflated prices that were the product of

Defendants’ manipulation of the cryptocommodity market.” In re Tether, 576 F.

Supp. 3d at 93. (See PSAC ¶¶ 19-22). These allegations are sufficient to

establish antitrust injury for the purposes of Section 2, which recognizes

injuries connected to “losses from transacting in a market tainted by price

manipulation,” In re Crude Oil Commodity Futures Litig., 913 F. Supp. 2d 41, 47

(S.D.N.Y. 2012), as well as Section 1, which similarly acknowledges injuries




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from the “pay[ment] [of] prices that no longer reflect ordinary market

conditions,” Gelboim v. Bank of Am. Corp., 823 F.3d 759, 772 (2d Cir. 2016).

      Moving on, the Court considers whether Plaintiffs are efficient enforcers

of the antitrust laws. As the Second Circuit has instructed, courts must assess

a number of factors when considering this element, namely:

            [i] whether the violation was a direct or remote cause of
            the injury; [ii] whether there is an identifiable class of
            other persons whose self-interest would normally lead
            them to sue for the violation; [iii] whether the injury was
            speculative; and [iv] whether there is a risk that other
            plaintiffs would be entitled to recover duplicative
            damages or that damages would be difficult to apportion
            among possible victims of the antitrust injury.

Gelboim, 823 F.3d at 772.

      Defendants, for their part, direct their arguments primarily at the first

element, which “requires some direct relation between the injury asserted and

the injurious conduct alleged,” and is assessed according to “familiar principles

of proximate causation.” In re Am. Express Anti-Steering Rules Antitrust Litig.,

19 F.4th 127, 139-40 (2d Cir. 2021). The Court, however, finds that Plaintiffs’

claimed injury (i.e., purchases made at inflated prices) was a sufficiently

“direct” result of Defendants’ conduct for purposes of standing, even though

Defendants may later revisit the issue at later stages in this case. In re Foreign

Exch. Benchmark Rates Antitrust Litig., No. 13 Civ. 7789 (LGS), 2016 WL

5108131, at *11 (S.D.N.Y. Sept. 20, 2016) (finding price premium theory of

injury was not speculative, as plaintiffs could “prove damages by comparing

the prices [they] paid in identifiable transactions with what the price would

have been but for collusion,” and noting that “any holding that these damages


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would be speculative is premature” in the context of a motion to dismiss);

Alaska Elec. Pension Fund v. Bank of Am. Corp., 175 F. Supp. 3d 44, 61

(S.D.N.Y. 2016) (concluding that plaintiffs’ allegations “that they were directly

harmed ... by having to pay higher prices (or earning lower profits) from

instruments tied to [defendants’ alleged anticompetitive conduct],” were not

speculative).

      Defendants’ arguments to the contrary are again unavailing. For one,

Defendants assert that it was the Anonymous Trader’s arbitrage activity, rather

than Defendants’ conduct, that was the proximate cause of the price inflation,

and thus of Plaintiffs’ injury. (B/T MTA Opp. 36). Not so. As discussed above,

the PSAC plausibly alleges that the Anonymous Trader was simply the vehicle

by which Defendants executed their scheme to manipulate cryptocurrency

prices through the introduction of debased USDT en masse.

      Nor does Platinum II, on which Defendants also rely, dictate a different

conclusion. (See B/T MTA Opp. 36 (citing Platinum II, 61 F.4th at 260-61)). In

that case, which concerned the alleged manipulation of the market spot price

for platinum and palladium, the Second Circuit found that participants in the

corresponding futures market suffered a direct injury in connection with the

spot price manipulation, even though a direct market buyer who made the

independent decision to incorporate the benchmark prices into its contracting

did not. Platinum II, 61 F.4th at 263-64. Here, Plaintiffs are more akin to the

Platinum II plaintiffs who “lost money through futures contracts transactions in




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the same market” that was manipulated by the defendants, as opposed to the

plaintiff who participated in a distinct, albeit parallel direct market Id. at 263.

      Defendants are similarly unsuccessful in their argument that purchasers

of the debased USDT were more “direct” victims of the alleged misconduct.

(B/T MTA Opp. 37). As discussed, Plaintiffs’ theory centers on injuries

sustained as a result of Defendants’ manipulation of the market for certain

cryptocommodities, using debased USDT as their key instrumentality. (See

PSAC ¶¶ 19-22). Plaintiffs, as the purchasers of those cryptocommodities, are

sufficiently direct victims for the purposes of their antitrust claims.

                   ii.   Plaintiffs State a Viable Section 2 Monopolization
                         Claim

      Having found that the PSAC plausibly alleges that Plaintiffs have

antitrust standing, the Court proceeds to address the merits of their claims.

The Court begins with Plaintiffs’ claim for monopolization under Section 2 of

the Sherman Act, arising out of Defendants’ alleged acquisition and

maintenance of market power in the market for cryptocommodities through the

issuance of debased USDT. (See PSAC ¶¶ 417-427). “[T]o state a claim for

monopolization under Section 2 of the Sherman Act, a plaintiff must establish:

‘[i] the possession of monopoly power in the relevant market and [ii] the willful

acquisition or maintenance of that power as distinguished from growth or

development as a consequence of a superior product, business acumen, or

historic accident.’” PepsiCo, Inc. v. Coca-Cola Co., 315 F.3d 101, 105 (2d Cir.

2002) (quoting United States v. Grinnell Corp., 384 U.S. 563, 570-71 (1966)).

The Court addresses each element in turn.


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      “There are two ways a plaintiff can show the possession of monopoly

power: [i] through direct evidence of anticompetitive effects or [ii] by defining a

relevant market and showing defendants’ excess market share.” In re Tether,

576 F. Supp. 3d at 95 (quoting In re Crude Oil Commodity Futures Litig., 913 F.

Supp. 2d at 51). As in the CAC, Plaintiffs take the former path to establish

monopoly power, alleging that Defendants, through the issuance of secretly

debased USDT, possessed the “ability to distort ordinary forces of supply and

demand,” sufficient to control cryptocommodity prices. Merced Irrigation Dist.

v. Barclays Bank PLC, 165 F. Supp. 3d 122, 143 (S.D.N.Y. 2016). (See PSAC

¶¶ 12-13, 337-362, 425). As further evidence, Plaintiffs identify specific

correlations between the issuance of this allegedly debased USDT, its transfer

to and use by the Anonymous Trader, and the subsequent price movement of

Bitcoin seemingly correlated with this trading activity. (See id. ¶¶ 350-362).

These allegations largely echo those raised in the context of Plaintiffs’ CEA

claims, and once again prevail over Defendants’ position that the USDT was

fully backed and therefore its influx into the market provided a legitimate,

rather than artificial, signal of organic market demand for cryptocurrencies.

(See B/T MTA Opp. 38). Consequently, the Court finds that the PSAC

sufficiently pleads monopoly power, as it “provide[s] ‘concrete allegations of

Defendants’ dominant position in a related market,’ and ha[s] pleaded

‘significant pricing anomalies that are closely correlated with [D]efendants’

alleged conduct.’” In re Tether, 576 F. Supp. 3d at 98 (alteration adopted)




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(quoting Shak v. JPMorgan Chase & Co., 156 F. Supp. 3d 462, 485 (S.D.N.Y.

2016)).

      Next, to show willful acquisition of monopoly power at the pleading stage,

a plaintiff must identify anticompetitive conduct, defined by the Second Circuit

as “conduct without a legitimate business purpose that makes sense only

because it eliminates competition.” In re Tether, 576 F. Supp. 3d at 98 (quoting

In re Adderall XR Antitrust Litig., 754 F.3d 128, 133 (2d Cir. 2014)). In the

CAC, the Court found such a showing was met by Plaintiffs’ allegations that

Defendants “printed the crypto-equivalent of money out of thin air, and then

used that counterfeit money to purchase cryptocommodities when prices of

those commodities began tanking.” Id. at 99 (alteration adopted and internal

quotation marks and citation omitted). Such a scheme not only “increase[ed]

Defendants’ market share through anticompetitive means,” but also “more

critically, artificially inflat[ed] cryptocommodity prices divorced from any

legitimate market forces.” Id.

      Defendants argue that discovery has undercut this logic, as the

revelation that USDT was ostensibly backed by Bitfinex receivables belies any

finding that “Defendants printed USDT ‘out of thin air.’” (B/T MTA Opp. 38).

To the contrary, the clarification that Tether’s unchecked issuance of USDT

was backed by mere promises from Bitfinex that it could pay the collateral

amount, rather than the CAC’s allegation that the USDT was backed by

nothing at all, does not change the Court’s conclusion that the USDT issued by

Tether was debased, especially in light of Plaintiffs’ detailed allegations



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explaining how the value of Bitfinex receivables should have been discounted

in light of their inherent risk. (See PSAC ¶¶ 192-205). Nor are Defendants

correct that the Anonymous Trader’s cross-exchange arbitrage strategy

explains away the allegedly suspicious correlation between Defendants’

issuance of debased USDT and the movement of cryptocommodity prices,

especially given Plaintiffs’ allegations, discussed above, that the Anonymous

Trader was essentially betting with Defendants’ house money. For all of these

reasons, the Court finds that the PSAC plausibly states a claim for

monopolization under Section 2 of the Sherman Act.

                   iii.   Plaintiffs’ Section 2 Conspiracy to Monopolize
                          Claim Is Futile

      Plaintiffs next claim that Defendants entered into a conspiracy with the

Anonymous Trader to engage in the aforementioned monopolization, seeking to

revive Section 2 conspiracy claims that the Court has previously dismissed.

(See PSAC ¶¶ 428-436). See In re Tether, 576 F. Supp. 3d at 100-01. Such

claims “require[] a showing of: ‘[i] concerted action, [ii] overt acts in furtherance

of the conspiracy, and [iii] specific intent to monopolize.’” Id. (quoting Elecs.

Commc’ns Corp. v. Toshiba Am. Consumer Prod., Inc., 129 F.3d 240, 246 (2d

Cir. 1997)).

      In its prior opinion, the Court found that the CAC fell short of

establishing that the Exchange Defendants or any of the Individual Defendants

had any intent to assist the B/T Defendants to monopolize, given the lack of

any allegations that those parties engaged in anticompetitive behavior. In re

Tether, 576 F. Supp. 3d at 101. Rather, the Court found that the allegations of


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the CAC “more properly describe[] an agreement, inter alia, in restraint of trade

or to manipulate cryptocommodity prices for profit — not to reduce competition

in that market or exclude competitors from the market.” Id. at 101 n.33. So

too here, where Plaintiffs’ conclusory allegation that the Anonymous Trader

acted with the specific intent to confer monopoly power on Defendants is

supported primarily by an alleged “common motive [between Defendants and

the Trader] to conspire to inflate prices of cryptocommodities.” (PSAC ¶ 434).

The Court therefore finds the PSAC’s conspiracy to monopolize claim to be

futile, though it will permit Plaintiffs to proceed with their claim for unlawful

agreement in restraint of trade, as discussed below.

                     iv.     Plaintiffs State a Viable Section 1 Conspiracy
                             Claim

      Finally, Plaintiffs claim that Defendants’ conspiracy to inflate

cryptocommodity prices violated Sections 1 and 3 of the Sherman Act,

proscribing agreements in restraint of trade. (See PSAC ¶¶ 437-446). 9


9     As a threshold matter, the parties dispute how the Court should understand the
      Section 1 claims raised in the PSAC. In relevant part, the PSAC alleges that
      “Defendants violated 15 U.S.C. § 15 by conspiring and agreeing amongst themselves to
      manipulate cryptocurrency prices by debasing USDT and facilitating the Anonymous
      Trader’s purchase of cryptocommodities.” (PSAC ¶ 439). Plaintiffs maintain that these
      allegations present two claims: first, that Defendants conspired with the Anonymous
      Trader to manipulate cryptocurrency prices; and second, that Defendants conspired
      amongst themselves to manipulate cryptocurrency prices. (See Pl. MTA Br. 22-25, 25
      n.2). Defendants, on the other hand, assert that the language of the PSAC only
      supports the latter reading, although they address both claims in their opposition brief.
      (See B/T MTA Opp. 40-42).
      Given that the allegations of the PSAC provide fair notice of Plaintiffs’ theory of an illicit
      conspiracy between Defendants and the Anonymous Trader, the Court will permit
      Plaintiffs to proceed on both theories, notwithstanding the ambiguous semantics of
      certain paragraphs in the PSAC. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
      (2007) (“Federal Rule of Civil Procedure 8(a)(2) requires only ‘a short and plain
      statement of the claim showing that the pleader is entitled to relief,’ in order to ‘give the
      defendant fair notice of what the ... claim is and the grounds upon which it rests.’”).



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“Section 1 of the Sherman Act prohibits restraints on trade ‘effected by a

contract, combination, or conspiracy.’” In re Tether, 576 F. Supp. 3d at 101

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 553 (2007)). 10 To state a

claim under Section 1 of the Sherman Act, a plaintiff must show “[i] a

combination or some form of concerted action between at least two legally

distinct economic entities that [ii] unreasonably restrains trade.” United States

v. Am. Express Co., 838 F.3d 179, 193 (2d Cir. 2016). Addressing each element

in turn, the Court finds that the PSAC presents a viable Section 1 claim.

      To satisfy the first element of a Section 1 claim, “Plaintiffs must assert

either direct evidence (such as a recorded phone call or email in which

competitors agreed to fix prices) or ‘circumstantial facts supporting the

inference that a conspiracy existed.’” In re Commodity Exch., Inc., 213 F. Supp.

3d at 659 (quoting Mayor & City Council of Balt. v. Citigroup, Inc., 709 F.3d 129,

136 (2d Cir. 2013)). Recognizing that proof of a conspiracy is rarely reduced to

direct evidence, the Second Circuit permits a plaintiff to support her claim

“through inferences that may fairly be drawn from the behavior of the alleged

conspirators.” Gelboim, 823 F.3d at 781 (internal quotation marks and citation

omitted). A plaintiff may meet this burden through “allegations of

interdependent conduct, accompanied by circumstantial evidence and plus

factors.” Id. (internal quotation marks and citation omitted). As the parties are

aware, “[t]hose illustrative, non-exhaustive ‘plus factors’ include ‘[i] a common


10    Section 3 simply “extends the reach of Section 1 to trade or commerce involving U.S.
      Territories and the District of Columbia.” Spinelli v. Nat’l Football League, 96 F. Supp.
      3d 81, 107 n.10 (S.D.N.Y. 2015).



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motive to conspire; [ii] evidence that shows that the parallel acts were against

the apparent individual economic self-interest of the alleged conspirators; and

[iii] evidence of a high level of interfirm communications.’” In re Tether, 576 F.

Supp. at 102 (quoting Gelboim, 823 F.3d at 781).

      The Court begins with Plaintiffs’ allegations supporting the inference of

an agreement between the Defendants and the Anonymous Trader to

manipulate cryptocommodity prices, which facts are discussed extensively

throughout this Opinion. (See Pl. MTA Br. 23). Relevant to the Section 1 “plus

factors,” Plaintiffs allege that Defendants and the Anonymous Trader had a

common motive to conspire to inflate cryptocommodity prices, as evidenced by

the apparent back-and-forth conversations between Defendants and the

Anonymous Trader, including an exchange in which the parties spoke about

“push[ing] the [Bitcoin] price above 10k,” in connection with the issuance of

USDT to the Anonymous Trader. (PSAC ¶ 335; see also id. ¶¶ 322-336). These

exchanges echo the specific shared intent to manipulate prices already

accepted by this Court in the context of the similar Section 1 claim raised in

the CAC. See In re Tether, 576 F. Supp. at 103 (finding allegations that the

conspirators intended “to stop the prices of cryptocommodities from falling,

and to artificially increase the prices in the cryptocommodity market,” to be

sufficient for the purposes of a motion to dismiss).

      Likewise, Plaintiffs’ allegations concerning the overly generous margin

trading policy implemented by the Bitfinex exchange (PSAC ¶ 332),




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                                  (id. ¶ 336), and

                                                          (id. ¶ 330), all provide

evidence of action against apparent individual economic self-interest sufficient

to support a threshold inference of conspiracy. While Defendants’ proffered

innocuous explanations for these actions may be relevant at summary

judgment, for the purposes of assessing futility, Plaintiffs “must only put forth

sufficient factual matter to plausibly suggest an inference of conspiracy, even if

the facts are susceptible to an equally likely interpretation.” Gelboim, 823 F.3d

at 782 (citing Anderson News, 680 F.3d at 184 (“Because plausibility is a

standard lower than probability, a given set of actions may well be subject to

diverging interpretations, each of which is plausible.”)).

      Having found that Plaintiffs have plausibly alleged a conspiracy between

Defendants and the Anonymous Trader, the Court next considers Plaintiffs’

allegations that the conspiracy was “in restraint of trade or commerce among

the several States.” In re Tether, 576 F. Supp. 3d at 104. Here, the Court’s

analysis is necessarily brief, given its earlier findings that Plaintiffs have

plausibly alleged that Defendants, relying in part on the Anonymous Trader’s

cross-exchange arbitrage activity, sought to artificially inflate the price of

cryptocommodities. As the parties are aware, “[a]ny conspiracy formed for the

purpose and with the effect of raising, depressing, fixing, pegging, or stabilizing

the price of a commodity is illegal per se, and the precise machinery employed

is immaterial.” Id. (internal quotation marks and citation omitted).




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Accordingly, the PSAC presents a viable claim predicated on an agreement in

restraint of trade between Defendants and the Anonymous Trader.

      Finally, the Court considers Plaintiffs’ alternative theory that Defendants

Tether and Bitfinex conspired between themselves in restraint of trade,

notwithstanding their common ownership, as evidenced by the extensive

allegations in the PSAC detailing an alleged agreement between Tether and

Bitfinex to issue debased USDT in connection with a scheme to artificially

inflate the price of cryptocommodities. (See Pl. MTA Br. 25 n.2; Pl. MTA

Reply 27 n.15, 29-30). While Defendants are correct that this theory is in

tension with the principle that Section 1 applies only to concerted action that

“joins together separate decisionmakers” (B/T MTA Opp. 42 (quoting Am.

Needle, Inc. v. Nat’l Football League, 560 U.S. 183, 195-96 (2010))), such an

argument does not foreclose Plaintiffs’ ability to plead this theory in the

alternative, given Defendants’ argument that Bitfinex and Tether were

independent entities (Pl. MTA Reply 29 (citing Square D Co. v. Schneider S.A.,

760 F. Supp. 362, 368 (S.D.N.Y. 1991) (permitting plaintiff to proceed with an

alternative theory that a defendant’s subsidiaries were discrete entities, in

addition to the plaintiff’s principal theory that defendant’s subsidiaries acted as

one entity under defendant’s control))).

      Accordingly, the Court finds that the PSAC alleges viable claims under

Section 1 of the Sherman Act.




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C.    The Court Grants Plaintiffs’ Motion to File a Redacted Version of
      the PSAC

      Having resolved the merits of Plaintiffs’ motion for leave to amend, the

Court finally turns to Plaintiffs’ motion for leave to file redacted versions of

their PSAC and accompanying brief. (Dkt. #539). While Defendants take no

substantive position on Plaintiffs’ request, they provide a letter from the

Anonymous Trader to the Court, vigorously opposing Plaintiffs’ proposed

redactions. (Dkt. #542 (B/T cover letter), 542-1 (Anonymous Trader letter)).

Having unsuccessfully met-and-conferred pursuant to the Court’s prior order

(Dkt. #511), Plaintiffs and the Anonymous Trader represent they are at an

impasse and require the Court’s intervention to resolve the parties’ line-by-line

redactions across the 448-paragraph PSAC.

      Under both the common law and the First Amendment, a strong

presumption of public access attaches to judicial documents. See Lugosch v.

Pyramid Co. of Onondaga, 435 F.3d 110, 119-20 (2d Cir. 2006). For the

avoidance of doubt, the PSAC and the Second Amended Complaint, when it is

filed, both constitute “judicial documents.” See Bernstein v. Bernstein Litowitz

Berger & Grossmann LLP, 814 F.3d 132, 140 (2d Cir. 2016). Such a

designation makes sense, as “[a] complaint … is the cornerstone of every case,

the very architecture of the lawsuit, and access to the complaint is almost

always necessary if the public is to understand a court’s decision.” Id.

(citation omitted). This presumption is balanced, to a degree, against “the

privacy rights of participants and third parties.” United States ex rel. Wenzel v.

Pfizer, Inc., 881 F. Supp. 2d 217, 221 (D. Mass. 2012); Standard Chartered


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Bank Int’l (Americas) Ltd. v. Calvo, 757 F. Supp. 2d 258, 260 (S.D.N.Y. 2010)

(“In considering whether presumptively public judicial documents … should be

sealed, a court considers … the privacy interests of those who resist

disclosure.” (citing United States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir.

1995))).

      Of relevance here, where “the unsealing of a … complaint would threaten

a litigant’s personal privacy or safety, courts have the discretion to … unseal a

complaint with redactions.” Wenzel, 881 F. Supp. 2d at 221. When

considering these interests, however, “courts must be leery of confidentiality

requests that ‘permit the parochial interest of one party to trump the public

interest in the efficient and transparent administration of justice.’” In re

Platinum & Palladium Commodities Litig., 828 F. Supp. 2d 602, 604 (S.D.N.Y.

2011) (quoting Calvo, 757 F. Supp. 2d at 260).

      Turning to the circumstances of this case, the Court agrees with

Plaintiffs that the Anonymous Trader’s proposed redactions are impermissibly

overbroad, and “would have the practical effect of sealing the entire case.” In re

Platinum & Palladium, 828 F. Supp. 2d at 604. Indeed, while technically a

third party to this litigation, the Anonymous Trader is heavily implicated in

Defendants’ alleged price manipulation scheme, as detailed in the foregoing

discussion of the PSAC. While the Court recognizes the Anonymous Trader’s

interest in the nondisclosure of the Trader’s personal information, this interest

does not extend to the Anonymous Trader’s trading activities on the open

market and the Trader’s business interactions with Defendants that lie at the



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center of this case. Cf. United States ex rel. Doe v. Horizon Therapeutics PLC,

No. 20 Civ. 3207 (MKV), 2021 WL 3500911, at *2 (S.D.N.Y. Aug. 9, 2021)

(recognizing that the risk of professional retaliation is not one of the “‘higher

values’ that outweigh the presumption of public access” to documents filed in

an ongoing case (collecting cases)).

      While the Court will accept redactions concerning the specifics of certain

trades or trading activity, it will not accept the Anonymous Trader’s proposed

redactions regarding the general nature of the Trader’s automated trading

strategy, or how that automated trading strategy was used by Defendants to

push USDT onto the market and thereby inflate cryptocommodity prices. For

example, the Anonymous Trader proposes that the Court approve redactions of

section headings alleging that “Defendants gave the Anonymous Trader vast

quantities of USDT; Defendants were aware of and facilitated the Bitfinex price

premium; [and] Defendants helped the Anonymous Trader’s bot trade large

volumes.” (Dkt. #539-2 at 2). Elsewhere, the Anonymous Trader seeks

redaction, inter alia, of allegations that Defendants “extended the Anonymous

Trader a credit line,” and that “[t]he Anonymous Trader’s bot’s trades inflated

[B]itcoin prices during the Class Period. By trading debased USDT for [B]itcoin

and other crypto assets, the bot sent an artificial signal about the level of

demand for [B]itcoin, inflating [B]itcoin prices on those exchanges.” (PSAC

¶¶ 12-13). None of these allegations, however, implicates the Anonymous

Trader’s personal information. And as detailed above, such allegations are

integral to the theory of market manipulation set forth in the PSAC.



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      Nor is the Anonymous Trader correct in the related position that the

Court’s prior orders governing the treatment of evidence produced in discovery

dictate the treatment of redactions in what is to become the operative pleading

in this case. (Dkt. #542-1 at 3). As the Second Circuit instructs, there is a

distinction between judicial documents, which are those “relevant to the

performance of the judicial function and useful in the judicial process,” and

“[d]ocuments that are never filed with the court, but simply ‘passed between

the parties in discovery.’” Brown v. Maxwell, 929 F.3d 41, 50 (2d Cir. 2019)

(quoting Amodeo, 71 F.3d at 50). While the latter category of discovery

documents “lie[s] entirely beyond the presumption’s reach,” and therefore may

be governed by protective orders and the Court’s authority to oversee discovery,

judicial documents, including the PSAC in this case, are governed by the more

stringent presumption in favor of public access. Id. In this case, the Court

finds that the Anonymous Trader’s proposed redactions would inappropriately

seal allegations that are relevant to the performance of the Court’s judicial

function in granting leave to amend, and in assessing future substantive

motions, including for class certification and summary judgment.

      Accordingly, having reviewed the disputed redactions to the PSAC, the

Court finds that Plaintiffs’ approach properly redacts the Anonymous Trader’s

identifying information, while still ensuring that the operative allegations of the

PSAC are presented in open court, and understandable to the public. See

Lugosch, 435 F.3d at 119 (emphasizing the importance of open access to

judicial documents in ensuring that “the public [has] confidence in the



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conscientiousness, reasonableness, [and] honesty of judicial proceedings”

(citation omitted)). It will therefore grant Plaintiffs’ motion for leave to file a

redacted PSAC.

                                    CONCLUSION

      For the reasons detailed above, Plaintiffs’ motions for (i) leave to file a

second amended complaint and (ii) leave to file redacted versions of certain

motion papers and the Proposed Second Amended Complaint (“PSAC”) are

GRANTED. Plaintiffs shall file the redacted versions of these materials on or

before July 8, 2024. Plaintiffs shall further file their Second Amended

Complaint on or before July 12, 2024, and may employ the same redacting

conventions that the Court has authorized for the PSAC.

      Thereafter, the parties are ORDERED to meet and confer and to submit

proposed next steps, including a proposed deadline for the filing of Defendants’

answer, a proposed schedule for the remaining dispositive motions in this

action, and the parties’ contemplated schedule for expert discovery. The

parties shall do so in a submission, not to exceed ten pages, on or before

July 26, 2024.

      The Clerk of Court is directed to terminate the motions pending at docket

entries 479 and 539. The Clerk of Court is further directed to file this Opinion

and Order under seal, viewable only to the parties and the Court.




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